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                        EXHIBIT 8-A
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 Fill in this information to identify the case:

 Debtor name                           Galleria 2425 Owner, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas

 Case number (if known):            23-34815-H5-11                                                                                    ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     12/22/2023
                          MM/ DD/ YYYY
                                                                            ✘
                                                                                Signature of individual signing on behalf of debtor


                                                                                Dward Darjean
                                                                                Printed name


                                                                                Manager
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name                           Galleria 2425 Owner, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas

 Case number (if known):            23-34815-H5-11                                                                                        ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete            Name, telephone number,          Nature of the          Indicate if      Amount of unsecured claim
    mailing address, including zip code      and email address of             claim (for example,    claim is         If the claim is fully unsecured, fill in only unsecured
                                             creditor contact                 trade debts, bank      contingent,      claim amount. If claim is partially secured, fill in
                                                                              loans, professional    unliquidated,    total claim amount and deduction for value of
                                                                              services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                              government                              Total claim, if     Deduction for       Unsecured
                                                                              contracts)                              partially           value of            claim
                                                                                                                      secured             collateral or
                                                                                                                                          setoff
1     Caz Creek Lending                                                       Tax Lien                                   $800,238.37      $17,500,000.00          $800,238.37
      118 Vintage Park Blvd No. W
      Houston, TX 77070


2     Cirro Electric                                                          Electricity provider                                                                 $22,928.00
      PO Box 60004
      Dallas, TX 75266


3     City of Houston                                                                                                    $544,604.20      $17,500,000.00          $544,604.20
      Po Box 1560
      Houston, TX 77251-1560


4     City of Houston Water Department                                        Water                                                                                 $6,126.00
      PO Box 1560
      Houston, TX 77251


5     Datawatch Systems                                                       Services               Disputed                                                      $22,990.00
      4520 East West Highway 200
      Bethesda, MD 20814


6     Firetron                                                                Services                                                                             $30,040.34
      PO Box 1604
      Stafford, TX 77497


7     First Insurance Funding                                                                                                                                       $5,507.36
      450 Skokie Blvd
      Northbrook, IL 60062


8     Gulfstream Legal Group                                                  Legal services         Disputed                                                      $57,799.06
      1300 Texas St                                                                                  Unliquidated
      Houston, TX 77002




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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                        Case23-34815
                             23-34815 Document
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Debtor       Galleria 2425 Owner, LLC                                                                         Case number (if known)            23-34815-H5-11
             Name

    Name of creditor and complete       Name, telephone number,        Nature of the          Indicate if       Amount of unsecured claim
    mailing address, including zip code and email address of           claim (for             claim is          If the claim is fully unsecured, fill in only unsecured
                                        creditor contact               example, trade         contingent,       claim amount. If claim is partially secured, fill in total
                                                                       debts, bank loans,     unliquidated,     claim amount and deduction for value of collateral or
                                                                       professional           or disputed       setoff to calculate unsecured claim.
                                                                       services, and                            Total claim, if     Deduction for       Unsecured
                                                                       government                               partially           value of            claim
                                                                       contracts)                               secured             collateral or
                                                                                                                                    setoff
9    Hayward PLLC                                                      Legal fees                                                                            $97,193.00
     10501 N Central Expy Ste 106
     Dallas, TX 75231-2203


10 HNB Construction, LLC                                               Services               Disputed                                                       $84,853.00
   521 Woodhaven                                                                              Unliquidated
   Ingleside, TX 78362


11 Houston Community College                                           Ad Valorem tax                                $97,110.05     $17,500,000.00           $97,110.05
   System                                                              lien
     c/o Tara Grundemeier Linebarger,
     Groggan, Blair & Sampson
     Po Box 3064
     Houston, TX 77253-3064
12 Houston Independent School                                          Ad valorem                                  $979,200.35      $17,500,000.00          $979,200.35
   District
     P.O. Box 4668
     Houston, TX 77210

13 Lexitas                                                             Services                                                                                $2,771.75
   PO Box Box 734298 Dept 2012
   Dallas, TX 75373


14 National Bank of Kuwait                                             Deed of Trust          Contingent        $63,552,988.00      $17,500,000.00      $63,552,988.00
   299 Park Ave. 17th Floor                                                                   Disputed
   New York, NY 10171                                                                         Unliquidated



15 National Bank of Kuwait                                             Tax lien               Contingent         $1,696,384.00      $17,500,000.00        $1,696,384.00
   Charles C. Conrad Pillsbury                                         assignments -          Disputed
   Winthrop Shaw Pittsman, LLP                                         subject to offsets     Unliquidated
   909 Fannin St, Ste 2000                                             and claims. Tax
   Houston, TX 77010                                                   lien assignments
                                                                       were part of
                                                                       breached
                                                                       settlement
                                                                       agreement.
16 Nationwide Security                                                 Services                                                                              $32,549.70
   2425 W Loop S 300
   Houston, TX 77027


17 Nichamoff Law Firm                                                  Legal services                                                                        $46,984.22
   2444 Times Blvd 270
   Houston, TX 77005


18 T&R Mechanical                                                                                                                                              $4,216.34
   21710 White Oak Dr
   Conroe, TX 77306-8848


19 TKE                                                                 Elevator                                                                              $76,935.35
   3100 Interstate North Cir SE 500                                    maintenance and
   Atlanta, GA 30339                                                   repair




Official Form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
20 Zindler Cleaning Service Co                                                                               $4,221.00
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    Houston, TX 77063
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                                                                                     Page5 6ofof6384
     Fill in this information to identify the case:

      Debtor Name       Galleria 2425 Owner, LLC

      United States Bankruptcy Court for the:               Southern             District of       Texas
                                                                                                   (State)
      Case number (If             23-34815-H5-11
      known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing


    Official Form 206A/B
    Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
    property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
    value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
    them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
    debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
    attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
     depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
     deduct the value of secured claims. See the instructions to understand the terms used in this form.

          Part 1:       Cash and cash equivalents

     1.      Does the debtor have any cash or cash equivalents?

             ❑ No. Go to Part 2.
             ✔ Yes. Fill in the information below.
             ❑
             All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                                debtor’s interest

     2.      Cash on hand

     3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

             Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

             3.1. Regions Bank                                       Checking account                                                                        $56,652.35

     4.      Other cash equivalents (Identify all)

             4.1

             4.2


     5.      Total of Part 1
                                                                                                                                                           $56,652.35
             Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


          Part 2:       Deposits and prepayments

     6.      Does the debtor have any deposits or prepayments?

             ❑ No. Go to Part 3.
             ✔ Yes. Fill in the information below.
             ❑
                                                                                                                                                Current value of
                                                                                                                                                debtor’s interest

     7.      Deposits, including security deposits and utility deposits

             Description, including name of holder of deposit

             7.1    Security Deposits from Tenants - $173,561.20 not held                                                                                            $0.00




    Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
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    Debtor           Galleria 2425 Owner, LLC                                                                 Case number (if known) 23-34815-H5-11
                     Name




     8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

             Description, including name of holder of prepayment

             8.1

             8.2


     9.      Total of Part 2
                                                                                                                                                                  $0.00
             Add lines 7 through 8. Copy the total to line 81.


          Part 3:        Accounts receivable

     10.     Does the debtor have any accounts receivable?

             ❑ No. Go to Part 4.
             ✔ Yes. Fill in the information below.
             ❑
                                                                                                                                              Current value of
                                                                                                                                              debtor’s interest

     11.     Accounts receivable

             11a. 90 days old or less:            $68,645.62              -                 unknown                      ➔
                                                                                                                    =.....                                 $68,645.62
                                         face amount                          doubtful or uncollectible accounts

             11b. Over 90 days old:                                       -                                              ➔
                                                                                                                    =.....
                                         face amount                          doubtful or uncollectible accounts


     12.     Total of Part 3
                                                                                                                                                         $68,645.62
             Current value on lines 11a + 11b = line 12. Copy the total to line 82.


          Part 4:        Investments

     13.     Does the debtor own any investments?

             ✔ No. Go to Part 5.
             ❑
             ❑ Yes. Fill in the information below.
                                                                                                                     Valuation method used    Current value of
                                                                                                                     for current value        debtor’s interest

     14.     Mutual funds or publicly traded stocks not included in Part 1

             Name of fund or stock:

             14.1

             14.2


     15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
             including any interest in an LLC, partnership, or joint venture

             Name of entity:                                                                     % of
                                                                                                 ownership:

             15.1.

             15.2.

     16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
             instruments not included in Part 1

             Describe:

             16.1



    Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                      page 2
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    Debtor          Galleria 2425 Owner, LLC                                                           Case number (if known) 23-34815-H5-11
                    Name




             16.2


     17.     Total of Part 4
             Add lines 14 through 16. Copy the total to line 83.

       Part 5:         Inventory, excluding agriculture assets

     18.     Does the debtor own any inventory (excluding agriculture assets)?

             ✔ No. Go to Part 6.
             ❑
             ❑ Yes. Fill in the information below.
             General description                                   Date of the last     Net book value of      Valuation method used   Current value of
                                                                   physical inventory   debtor's interest      for current value       debtor’s interest

                                                                                        (Where available)

     19.     Raw materials


                                                                   MM / DD / YYYY


     20.     Work in progress


                                                                   MM / DD / YYYY


     21.     Finished goods, including goods held for resale


                                                                   MM / DD / YYYY


     22.     Other inventory or supplies


                                                                   MM / DD / YYYY


     23.     Total of Part 5
             Add lines 19 through 22. Copy the total to line 84.


     24.     Is any of the property listed in Part 5 perishable?

             ✔ No
             ❑
             ❑ Yes
     25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

             ✔ No
             ❑
             ❑ Yes. Book value                           Valuation method                      Current value

     26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
       Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)

     27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

             ✔ No. Go to Part 7.
             ❑
             ❑ Yes. Fill in the information below.




    Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                page 3
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                  Name




             General description                                                       Net book value of      Valuation method used   Current value of
                                                                                       debtor's interest      for current value       debtor’s interest

                                                                                       (Where available)

     28.     Crops—either planted or harvested




     29.     Farm animals Examples: Livestock, poultry, farm-raised fish




     30.     Farm machinery and equipment (Other than titled motor vehicles)




     31.     Farm and fishing supplies, chemicals, and feed




     32.     Other farming and fishing-related property not already listed in Part 6




     33.     Total of Part 6
             Add lines 28 through 32. Copy the total to line 85.


     34.     Is the debtor a member of an agricultural cooperative?

             ✔ No
             ❑
             ❑ Yes. Is any of the debtor’s property stored at the cooperative?
                ❑ No
                ❑ Yes
     35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

             ✔ No
             ❑
             ❑ Yes. Book value                           Valuation method                     Current value

     36.     Is a depreciation schedule available for any of the property listed in Part 6?

             ✔ No
             ❑
             ❑ Yes
     37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
       Part 7:         Office furniture, fixtures, and equipment; and collectibles

     38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

             ❑ No. Go to Part 8.
             ✔ Yes. Fill in the information below.
             ❑
             General description                                                       Net book value of      Valuation method used   Current value of
                                                                                       debtor's interest      for current value       debtor’s interest

                                                                                       (Where available)

     39.     Office furniture




    Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4
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                                                                                              6384
    Debtor          Galleria 2425 Owner, LLC                                                             Case number (if known) 23-34815-H5-11
                    Name




             Other entities own furniture, equipment                                                 unknown                                           unknown


     40.     Office fixtures




     41.     Office equipment, including all computer equipment and
             communication systems equipment and software




     42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
             artwork; books, pictures, or other art objects; china and crystal; stamp,
             coin, or baseball card collections; other collections, memorabilia, or
             collectibles

             42.1

             42.2

             42.3


     43.     Total of Part 7
             Add lines 39 through 42. Copy the total to line 86.


     44.     Is a depreciation schedule available for any of the property listed in Part 7?

             ✔ No
             ❑
             ❑ Yes
     45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
       Part 8:         Machinery, equipment, and vehicles

     46.     Does the debtor own or lease any machinery, equipment, or vehicles?

             ✔ No. Go to Part 9.
             ❑
             ❑ Yes. Fill in the information below.
             General description                                                          Net book value of     Valuation method used    Current value of
                                                                                          debtor's interest     for current value        debtor’s interest
             Include year, make, model, and identification numbers (i.e., VIN, HIN, or
             N-number)                                                                    (Where available)

     47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
             vehicles

             47.1

             47.2

             47.3

             47.4


     48.     Watercraft, trailers, motors, and related accessories Examples:
             Boats, trailers, motors, floating homes, personal watercraft, and fishing
             vessels

             48.1

             48.2




    Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                 page 5
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    Debtor          Galleria 2425 Owner, LLC                                                              Case number (if known) 23-34815-H5-11
                    Name




     49.     Aircraft and accessories

             49.1

             49.2


     50.     Other machinery, fixtures, and equipment (excluding farm
             machinery and equipment)




     51.     Total of Part 8
             Add lines 47 through 50. Copy the total to line 87.


     52.     Is a depreciation schedule available for any of the property listed in Part 8?

             ✔ No
             ❑
             ❑ Yes
     53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
       Part 9:          Real property

     54.     Does the debtor own or lease any real property?

             ❑ No. Go to Part 10.
             ✔ Yes. Fill in the information below.
             ❑
     55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

             Description and location of property                  Nature and extent      Net book value of        Valuation method used   Current value of
             Include street address or other description such      of debtor’s interest   debtor's interest        for current value       debtor’s interest
             as Assessor Parcel Number (APN), and type of          in property
             property (for example, acreage, factory,                                     (Where available)
             warehouse, apartment or office building), if
             available.

                                                                                                                   Value based on
                                                                                                                   appraisal of property
                                                                                                                   by Cushman and
                                                                                                                   Wakefield dated May
                                                                                                                   3, 2023 for the
                                                                                                                   National Bank of
             55.1 Real Property / 2425 West Loop South             Fee Simple                        unknown       Kuwait                           $17,500,000.00
                    Houston, TX 77027


     56.     Total of Part 9
                                                                                                                                                  $17,500,000.00
             Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


     57.     Is a depreciation schedule available for any of the property listed in Part 9?

             ✔ No
             ❑
             ❑ Yes
     58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

             ❑ No
             ✔ Yes
             ❑
      Part 10:          Intangibles and intellectual property




    Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                    page 6
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    Debtor         Galleria 2425 Owner, LLC                                                               Case number (if known) 23-34815-H5-11
                  Name




     59.     Does the debtor have any interests in intangibles or intellectual property?

             ❑ No. Go to Part 11.
             ✔ Yes. Fill in the information below.
             ❑
             General description                                                          Net book value of        Valuation method used   Current value of
                                                                                          debtor's interest        for current value       debtor’s interest

                                                                                          (Where available)

     60.     Patents, copyrights, trademarks, and trade secrets




     61.     Internet domain names and websites




     62.     Licenses, franchises, and royalties

             Elevator, fire alarm, occupancy permits - City of Houston
             Permits                                                                                  unknown                                              $100.00


     63.     Customer lists, mailing lists, or other compilations




     64.     Other intangibles, or intellectual property




     65.     Goodwill




     66.     Total of Part 10
                                                                                                                                                         $100.00
             Add lines 60 through 65. Copy the total to line 89.


     67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

             ✔ No
             ❑
             ❑ Yes
     68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

             ✔ No
             ❑
             ❑ Yes
     69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
      Part 11:          All other assets

     70.     Does the debtor own any other assets that have not yet been reported on this form?
             Include all interests in executory contracts and unexpired leases not previously reported on this form.

             ❑ No. Go to Part 12.
             ✔ Yes. Fill in the information below.
             ❑
                                                                                                                                           Current value of
                                                                                                                                           debtor’s interest




    Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 7
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                          Case
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    Debtor         Galleria 2425 Owner, LLC                                                             Case number (if known) 23-34815-H5-11
                   Name




     71.     Notes receivable

             Description (include name of obligor)

                                                                                       –                                      =   ➔
                                                                  Total face amount        doubtful or uncollectible amount


     72.     Tax refunds and unused net operating losses (NOLs)

             Description (for example, federal, state, local)

                                                                                                          Tax year

                                                                                                          Tax year

                                                                                                          Tax year


     73.     Interests in insurance policies or annuities




     74.     Causes of action against third parties (whether or not a lawsuit has
             been filed)

             Claims against the National Bank of Kuwait including, but not limited to, lender liability, conspiracy and breach of
             contract.                                                                                                                                unknown

             Nature of claim

             Amount requested                        unknown

             Claims, including but not limited to, breach of contract against Sonder (former tenant)                                                  unknown

             Nature of claim

             Amount requested                        unknown

             Potential disputes/breach of contract claims with current tenants regarding leases                                                       unknown

             Nature of claim

             Amount requested                        unknown

             Claims and causes of action against Azeemeh Zaheer, Osama Abdulatiff, Rodney Drinnon and/or David Tang                                   unknown

             Nature of claim              Claims include, but not limited to, breach of duty, fraud, conspiracy, RICO, disparagement, tortuous interference
                                          with contract, tortuous interference with business relationships, and other claims and causes of action

             Amount requested                        unknown


     75.     Other contingent and unliquidated claims or causes of action of
             every nature, including counterclaims of the debtor and rights to
             set off claims



             Nature of claim

             Amount requested


     76.     Trusts, equitable or future interests in property




     77.     Other property of any kind not already listed Examples: Season
             tickets, country club membership




    Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                            page 8
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    Debtor           Galleria 2425 Owner, LLC                                                                                            Case number (if known) 23-34815-H5-11
                    Name




     78.     Total of Part 11
             Add lines 71 through 77. Copy the total to line 90.


     79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
      Part 12:            Summary


     In Part 12 copy all of the totals from the earlier parts of the form.


             Type of property                                                                                      Current value of                           Current value
                                                                                                                   personal property                          of real property

     80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                     $56,652.35

     81.     Deposits and prepayments. Copy line 9, Part 2.                                                                                  $0.00

     82.     Accounts receivable. Copy line 12, Part 3.                                                                             $68,645.62

     83.     Investments. Copy line 17, Part 4.

     84.     Inventory. Copy line 23, Part 5.

     85.     Farming and fishing-related assets. Copy line 33, Part 6.

     86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                                     unknown
             Copy line 43, Part 7.

     87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.


     88.     Real property. Copy line 56, Part 9..........................................................................................   ➔                  $17,500,000.00


     89.     Intangibles and intellectual property. Copy line 66, Part 10.                                                              $100.00

     90.     All other assets. Copy line 78, Part 11.                                                         +                      unknown


     91.     Total. Add lines 80 through 90 for each column............................91a.                                      $125,397.97         + 91b.     $17,500,000.00



     92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $17,625,397.97




    Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                                page 9
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                                                                                    Page1415ofof6384
     Fill in this information to identify the case:

         Debtor name     Galleria 2425 Owner, LLC

         United States Bankruptcy Court for the:                 Southern                District of             Texas
                                                                                                       (State)
         Case number (if known):      23-34815-H5-11                                                                                                     ❑ Check if this is an
                                                                                                                                                             amended filing

    Official Form 206D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

    Be as complete and accurate as possible.

    1.     Do any creditors have claims secured by debtor’s property?
           ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
           ✔ Yes. Fill in all of the information below.
           ❑
         Part 1:        List Creditors Who Have Secured Claims

     2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                       Column B
            than one secured claim, list the creditor separately for each claim.                                               Amount of claim                Value of collateral
                                                                                                                               Do not deduct the value        that supports this
                                                                                                                               of collateral.                 claim

    2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                                 lien                                                                   $25,092,415.80           $17,500,000.00
             2425 WL, LLC
                                                                 Real Property
            Creditor’s mailing address
                                                                 Describe the lien
             13498 Pond Springs Rd.
                                                                 Second lien mortgage
             Austin, TX 78729
                                                                 Is the creditor an insider or related party?
            Creditor’s email address, if known
                                                                 ❑ No
                                                                 ✔ Yes
                                                                 ❑
            Date debt was                    May 2018            Is anyone else liable on this claim?
            incurred
                                                                 ✔ No
                                                                 ❑
            Last 4 digits of                                     ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
            account
            number                                               As of the petition filing date, the claim is:
                                                                 Check all that apply.
            Do multiple creditors have an interest
                                                                 ❑ Contingent
            in the same property?
                                                                 ❑ Unliquidated
            ❑ No                                                 ❑ Disputed
            ✔ Yes. Specify each creditor, including this
            ❑
                     creditor, and its relative priority.
                     1) 2425 WL, LLC; 2) National Bank
                     of Kuwait; 3) Caz Creek Lending; 4)
                     National Bank of Kuwait ; 5)
                     Houston Independent School
                     District; 6) Houston Community
                     College System; 7) City of Houston




     3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                           $92,762,940.77
            Additional
            Page, if any.


    Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 8
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                                                                                    Page1516ofof6384
    Debtor     Galleria 2425 Owner, LLC                                                               Case number (if known) 23-34815-H5-11
              Name




      Part 1:        Additional Page                                                                                   Column A                       Column B
                                                                                                                       Amount of claim                Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value        that supports this
     from the
                                                                                                                       of collateral.                 claim
     previous page.

    2.2 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                         lien                                                                           $800,238.37      $17,500,000.00
          Caz Creek Lending
                                                         Real Property
         Creditor’s mailing address
                                                         Describe the lien
          118 Vintage Park Blvd No. W
                                                         Tax Lien
          Houston, TX 77070
                                                         Is the creditor an insider or related party?
         Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
         Date debt was                                   Is anyone else liable on this claim?
         incurred
                                                         ✔ No
                                                         ❑
         Last 4 digits of                                ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         account
         number                                          As of the petition filing date, the claim is:
                                                         Check all that apply.
         Do multiple creditors have an interest
                                                         ❑ Contingent
         in the same property?
                                                         ❑ Unliquidated
         ❑ No                                            ❑ Disputed
         ✔ Yes. Have you already specified the
         ❑
                  relative priority?
             ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



             ✔ Yes. The relative priority of creditors
             ❑
                      is specified on lines 2.1




    Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 8
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    Debtor     Galleria 2425 Owner, LLC                                                               Case number (if known) 23-34815-H5-11
              Name




      Part 1:        Additional Page                                                                                   Column A                       Column B
                                                                                                                       Amount of claim                Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value        that supports this
     from the
                                                                                                                       of collateral.                 claim
     previous page.

    2.3 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                         lien                                                                           $544,604.20      $17,500,000.00
          City of Houston
                                                         Real Property
         Creditor’s mailing address
                                                         Describe the lien
          Po Box 1560
          Houston, TX 77251-1560
                                                         Is the creditor an insider or related party?
         Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
         Date debt was                                   Is anyone else liable on this claim?
         incurred                                        ✔ No
                                                         ❑
         Last 4 digits of                                ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         account
                                                         As of the petition filing date, the claim is:
         number
                                                         Check all that apply.
         Do multiple creditors have an interest          ❑ Contingent
         in the same property?                           ❑ Unliquidated
         ❑ No                                            ❑ Disputed
         ✔ Yes. Have you already specified the
         ❑
                  relative priority?
             ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



             ✔ Yes. The relative priority of creditors
             ❑
                      is specified on lines 2.1




    Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 8
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    Debtor     Galleria 2425 Owner, LLC                                                               Case number (if known) 23-34815-H5-11
              Name




      Part 1:        Additional Page                                                                                   Column A                      Column B
                                                                                                                       Amount of claim               Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value       that supports this
     from the
                                                                                                                       of collateral.                claim
     previous page.

    2.4 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                         lien                                                                           $97,110.05      $17,500,000.00
          Houston Community College System
                                                         Real Property
         Creditor’s mailing address
                                                         Describe the lien
          c/o Tara Grundemeier
          Linebarger, Groggan, Blair &                   Ad Valorem tax lien
          Sampson
                                                         Is the creditor an insider or related party?
          Po Box 3064
                                                         ✔ No
                                                         ❑
          Houston, TX 77253-3064                         ❑ Yes
         Creditor’s email address, if known              Is anyone else liable on this claim?
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was
         incurred                                        As of the petition filing date, the claim is:
                                                         Check all that apply.
         Last 4 digits of
         account
                                                         ❑ Contingent
         number                                          ❑ Unliquidated
                                                         ❑ Disputed
         Do multiple creditors have an interest
         in the same property?
         ❑ No
         ✔ Yes. Have you already specified the
         ❑
                  relative priority?
             ❑ No. Specify each creditor, including
                      this creditor, and its relative
                      priority.



             ✔ Yes. The relative priority of creditors
             ❑
                      is specified on lines 2.1




    Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 8
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    Debtor     Galleria 2425 Owner, LLC                                                               Case number (if known) 23-34815-H5-11
              Name




      Part 1:        Additional Page                                                                                   Column A                       Column B
                                                                                                                       Amount of claim                Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value        that supports this
     from the
                                                                                                                       of collateral.                 claim
     previous page.

    2.5 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                         lien                                                                           $979,200.35      $17,500,000.00
          Houston Independent School District
                                                         Real Property
         Creditor’s mailing address
                                                         Describe the lien
          P.O. Box 4668
                                                         Ad valorem
          Houston, TX 77210
                                                         Is the creditor an insider or related party?
         Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
         Date debt was                                   Is anyone else liable on this claim?
         incurred
                                                         ✔ No
                                                         ❑
         Last 4 digits of                                ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         account
         number                                          As of the petition filing date, the claim is:
                                                         Check all that apply.
         Do multiple creditors have an interest
                                                         ❑ Contingent
         in the same property?
                                                         ❑ Unliquidated
         ❑ No                                            ❑ Disputed
         ✔ Yes. Have you already specified the
         ❑
                  relative priority?
             ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



             ✔ Yes. The relative priority of creditors
             ❑
                      is specified on lines 2.1




    Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 5 of 8
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    Debtor     Galleria 2425 Owner, LLC                                                               Case number (if known) 23-34815-H5-11
              Name




      Part 1:        Additional Page                                                                                   Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value   that supports this
     from the
                                                                                                                       of collateral.            claim
     previous page.

    2.6 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                         lien                                                                   $63,552,988.00      $17,500,000.00
          National Bank of Kuwait
                                                         Real Property
         Creditor’s mailing address
                                                         Describe the lien
          299 Park Ave. 17th Floor
                                                         Deed of Trust
          New York, NY 10171
                                                         Is the creditor an insider or related party?
         Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
         Date debt was                 05/23/2018        Is anyone else liable on this claim?
         incurred
                                                         ✔ No
                                                         ❑
         Last 4 digits of                                ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         account
         number                                          As of the petition filing date, the claim is:
                                                         Check all that apply.
         Do multiple creditors have an interest          ✔ Contingent
                                                         ❑
         in the same property?                           ✔ Unliquidated
                                                         ❑
         ❑ No                                            ✔ Disputed
                                                         ❑
         ✔ Yes. Have you already specified the
         ❑
                  relative priority?
             ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



             ✔ Yes. The relative priority of creditors
             ❑
                      is specified on lines 2.1

         Remarks:Claim subject to offset and claims for damages; Debtor has significant claims against the NBK for wrongful actions and breach
                 of contract




    Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 6 of 8
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    Debtor     Galleria 2425 Owner, LLC                                                               Case number (if known) 23-34815-H5-11
              Name




      Part 1:        Additional Page                                                                                   Column A                   Column B
                                                                                                                       Amount of claim            Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value    that supports this
     from the
                                                                                                                       of collateral.             claim
     previous page.

    2.7 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                         lien                                                                     $1,696,384.00      $17,500,000.00
          National Bank of Kuwait
                                                         Real Property
         Creditor’s mailing address
                                                         Describe the lien
          Charles C. Conrad Pillsbury
          Winthrop Shaw Pittsman, LLP                    Tax lien assignments - subject to offsets and
                                                         claims. Tax lien assignments were part of
          909 Fannin St, Ste 2000
                                                         breached settlement agreement.
          Houston, TX 77010
                                                         Is the creditor an insider or related party?
         Creditor’s email address, if known              ✔ No
                                                         ❑
                                                         ❑ Yes
         Date debt was                                   Is anyone else liable on this claim?
         incurred                                        ✔ No
                                                         ❑
         Last 4 digits of
                                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         account                                         As of the petition filing date, the claim is:
         number                                          Check all that apply.

         Do multiple creditors have an interest          ✔ Contingent
                                                         ❑
         in the same property?                           ✔ Unliquidated
                                                         ❑
         ❑ No                                            ✔ Disputed
                                                         ❑
         ✔ Yes. Have you already specified the
         ❑
                  relative priority?
             ❑ No. Specify each creditor, including
                      this creditor, and its relative
                      priority.



             ✔ Yes. The relative priority of creditors
             ❑
                      is specified on lines 2.1




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    Debtor      Galleria 2425 Owner, LLC                                                      Case number (if known) 23-34815-H5-11
             Name




      Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed
     are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

     If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy
     this page.


     Name and address                                                                                        On which line in Part    Last 4 digits of
                                                                                                             1                        account number
                                                                                                             did you enter the        for this entity
                                                                                                             related creditor?

     2425 WL, LLC
     60 West 2nd St.                                                                                        Line 2. 1
     Freeport, NY 11746

     Linebarger Goggan & Blair
     P.O. Box 3064                                                                                          Line 2. 3
     Houston, TX 77253

     Linebarger Goggan & Blair
     P.O. Box 3064                                                                                          Line 2. 5
     Houston, TX 77253



                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




    Form 206D                              Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                   page 8 of 8
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 Fill in this information to identify the case:

 Debtor name                           Galleria 2425 Owner, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas

 Case number (if known):            23-34815-H5-11                                                                                 ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

       Priority creditor’s name and mailing address           As of the petition filing date, the claim is:
2.1                                                           Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
                                                              ❑ Disputed
                                                              Basis for the claim:
       Date or dates debt was incurred


                                                              Is the claim subject to offset?
                                                              ❑ No
       Last 4 digits of account
       number
       Specify Code subsection of PRIORITY unsecured
                                                              ❑ Yes
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address           As of the petition filing date, the claim is:
2.2                                                           Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
                                                              ❑ Disputed
                                                              Basis for the claim:
       Date or dates debt was incurred


                                                              Is the claim subject to offset?
                                                              ❑ No
       Last 4 digits of account
       number
       Specify Code subsection of PRIORITY unsecured
                                                              ❑ Yes
       claim: 11 U.S.C. § 507(a)




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Debtor        Galleria 2425 Owner, LLC                                                                        Case number (if known)         23-34815-H5-11
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 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
                                                                            ❑ Contingent
       2425 West Loop LLC dba Metwall Design Solutions LLC

       2425 West Loop S Ste 800                                             ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       Houston, TX 77027-4214
                                                                            Basis for the claim: Lease payments
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
       Remarks: Disputes over tenant improvements and other matters

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $1,487.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       ADT

       PO Box 382109                                                        ❑ Unliquidated
                                                                            ❑ Disputed
       Pittsburgh, PA 15251
                                                                            Basis for the claim: Contract
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $6,771,235.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Ali Choudhri

       1001 West Loop South 700                                             ❑ Unliquidated
                                                                            ❑ Disputed
       Houston, TX 77027
                                                                                                 Additional amounts owed
                                                                            Basis for the claim: for tax liens
       Date or dates debt was incurred
                                                                            Is the claim subject to offset?
       Last 4 digits of account number                                      ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,548.31
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
       Ash Automated Control Systems, LLC

       PO Box 1113                                                          ❑ Unliquidated
                                                                            ❑ Disputed
       Fulshear, TX 77441
                                                                            Basis for the claim: HVAC Repair
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes




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 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $668.44
                                                                          Check all that apply.
                                                                          ❑ Contingent
      CFI Mechanical, Inc

      6109 Brittmoore Rd                                                  ❑ Unliquidated
                                                                          ❑ Disputed
      Houston, TX 77041
                                                                          Basis for the claim:
                                                                          Is the claim subject to offset?
      Date or dates debt was incurred
                                                                          ✔ No
                                                                          ❑
      Last 4 digits of account number                                     ❑ Yes
3.6 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $22,928.00
                                                                          Check all that apply.
                                                                          ❑ Contingent
      Cirro Electric

      PO Box 60004                                                        ❑ Unliquidated
                                                                          ❑ Disputed
      Dallas, TX 75266
                                                                          Basis for the claim: Electricity provider
                                                                          Is the claim subject to offset?
      Date or dates debt was incurred
                                                                          ✔ No
                                                                          ❑
      Last 4 digits of account number                                     ❑ Yes
3.7 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $6,126.00
                                                                          Check all that apply.
                                                                          ❑ Contingent
      City of Houston Water Department

      PO Box 1560                                                         ❑ Unliquidated
                                                                          ❑ Disputed
      Houston, TX 77251
                                                                          Basis for the claim: Water
                                                                          Is the claim subject to offset?
      Date or dates debt was incurred
                                                                          ✔ No
                                                                          ❑
      Last 4 digits of account number                                     ❑ Yes
      Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:              $0.00
3.8                                                                       Check all that apply.
                                                                          ❑ Contingent
      CNA Insurance Co

      PO Box 74007619                                                     ❑ Unliquidated
                                                                          ❑ Disputed
      Chicago, IL 60674
                                                                          Basis for the claim: Insurance
                                                                          Is the claim subject to offset?
      Date or dates debt was incurred
                                                                          ✔ No
                                                                          ❑
      Last 4 digits of account number                                     ❑ Yes
      Remarks:
      Insurance costs will be upcoming. All costs for insurance paid on
      filing date




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3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $300.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Comcast

         PO Box 60533                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         City of Industry, CA 91716
                                                                                            Internet and similar
                                                                       Basis for the claim: services
         Date or dates debt was incurred
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $22,990.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Datawatch Systems

         4520 East West Highway 200                                    ❑ Unliquidated
                                                                       ✔ Disputed
                                                                       ❑
         Bethesda, MD 20814
                                                                       Basis for the claim: Services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Remarks: Disputed as to amounts owed.

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $800.85
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Environmental Coalition Inc

         PO Box 1568                                                   ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Stafford, TX 77497
                                                                       Basis for the claim: Pest Control
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $2,001.00
3.12                                                                   Check all that apply.
                                                                       ❑ Contingent
         Ferguson Facilities Supplies

         PO Box 200184                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         San Antonio, TX 78220
                                                                       Basis for the claim: Services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




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3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $30,040.34
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Firetron

         PO Box 1604                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Stafford, TX 77497
                                                                       Basis for the claim: Services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,507.36
                                                                       Check all that apply.
                                                                       ❑ Contingent
         First Insurance Funding

         450 Skokie Blvd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Northbrook, IL 60062
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $57,799.06
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Gulfstream Legal Group

         1300 Texas St                                                 ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Houston, TX 77002
                                                                       Basis for the claim: Legal services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $97,193.00
3.16                                                                   Check all that apply.
                                                                       ❑ Contingent
         Hayward PLLC

         10501 N Central Expy Ste 106                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Dallas, TX 75231-2203
                                                                       Basis for the claim: Legal fees
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




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 Part 2: Additional Page

3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $84,853.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         HNB Construction, LLC

         521 Woodhaven                                                 ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Ingleside, TX 78362
                                                                       Basis for the claim: Services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,204,801.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Jetall Companies Inc.

         2425 West Loop S Ste 1100                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77027-4210
                                                                                            Commissions and
                                                                       Basis for the claim: payments
         Date or dates debt was incurred
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $315.95
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Kings 111 Emergency Communications

         751 Canyon Drive, Suite 100                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Coppell, TX 75019
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $2,771.75
3.20                                                                   Check all that apply.
                                                                       ❑ Contingent
         Lexitas

         PO Box Box 734298 Dept 2012                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Dallas, TX 75373
                                                                       Basis for the claim: Services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




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 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $323.42
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Logix Fiber Networks

         PO Box 734120                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Dallas, TX 75373
                                                                       Basis for the claim: Services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $950.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Mueller Water Treatment

         1500 Sherwood Forest Dr.                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77043
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $32,549.70
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Nationwide Security

         2425 W Loop S 300                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77027
                                                                       Basis for the claim: Services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $46,984.22
3.24                                                                   Check all that apply.
                                                                       ❑ Contingent
         Nichamoff Law Firm

         2444 Times Blvd 270                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77005
                                                                       Basis for the claim: Legal services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




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 Part 2: Additional Page

3.25 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,877.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Smart Office Solutions

         6623 Theall Rd                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77066-1213
                                                                       Basis for the claim: Services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.26 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,216.34
                                                                       Check all that apply.
                                                                       ❑ Contingent
         T&R Mechanical

         21710 White Oak Dr                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Conroe, TX 77306-8848
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.27 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $76,935.35
                                                                       Check all that apply.
                                                                       ❑ Contingent
         TKE

         3100 Interstate North Cir SE 500                              ❑ Unliquidated
                                                                       ❑ Disputed
         Atlanta, GA 30339
                                                                                            Elevator maintenance and
                                                                       Basis for the claim: repair
         Date or dates debt was incurred
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $456.00
3.28                                                                   Check all that apply.
                                                                       ❑ Contingent
         Waste Management

         PO Box 660345                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Dallas, TX 75266
                                                                       Basis for the claim: Trash services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




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3.29 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $4,221.00
                                                                   Check all that apply.
                                                                   ❑ Contingent
         Zindler Cleaning Service Co

         2450 Fondren 113                                          ❑ Unliquidated
                                                                   ❑ Disputed
         Houston, TX 77063
                                                                   Basis for the claim:
                                                                   Is the claim subject to offset?
         Date or dates debt was incurred
                                                                   ✔ No
                                                                   ❑
         Last 4 digits of account number                           ❑ Yes




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Debtor       Galleria 2425 Owner, LLC                                                             Case number (if known)    23-34815-H5-11
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 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00




  5b. Total claims from Part 2                                                     5b.              $9,481,879.09
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $9,481,879.09
      Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:

 Debtor name                           Galleria 2425 Owner, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas

 Case number (if known):            23-34815-H5-11              Chapter   11                                                      ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            Lease (tenant)- 2425 West Loop South         2425 West Loop LLC dba Metwall Design Solutions LLC
2.1    lease is for and the nature           LLC
       of the debtor’s interest                                                           2425 West Loop S Ste 800
                                             Contract to be ASSUMED                       Houston, TX 77027-4214
       State the term remaining              25 months

       List the contract number of
       any government contract

       State what the contract or            Agreement                                    2425 WL, LLC
2.2    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       13498 Pond Springs Rd
                                                                                          Austin, TX 78729-4422
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            Commercial lease                             Bankable Equities
2.3    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       2425 West Loop S Ste 600
                                                                                          Houston, TX 77027-4203
       State the term remaining              57 months

       List the contract number of
       any government contract

       State what the contract or            Commercial lease                             Boho Lounge
2.4    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       2425 West Loop S # 100
                                                                                          Houston, TX 77027-4205
       State the term remaining              59 months

       List the contract number of
       any government contract




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Debtor      Galleria 2425 Owner, LLC                                                                    Case number (if known)     23-34815-H5-11
            Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom the
                                                                                    debtor has an executory contract or unexpired lease

         State what the contract or      Property Insurance                          CNA Insurance Company
2.5      lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      PO Box BOX 74007619
                                                                                     Chicago, IL 60674
         State the term remaining        0 months

         List the contract number of
         any government contract

         State what the contract or      Lease (tenant)                              Eyebrows 4UTX LLC
2.6      lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S # 340b
                                                                                     Houston, TX 77027-4205
         State the term remaining        12 months

         List the contract number of
         any government contract

         State what the contract or      Liability Insurance                         First Insurance Funding
2.7      lease is for and the nature
         of the debtor’s interest                                                    450 Skokie Blvd.

         State the term remaining        0 months                                    Northbrook, IL 60062

         List the contract number of
         any government contract

         State what the contract or      Lease (tenant)                              G3 Global Services LLC
2.8      lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S Ste 310
                                                                                     Houston, TX 77027-4208
         State the term remaining        48 months

         List the contract number of
         any government contract

         State what the contract or      lease(tenant)- 4th Floor                    Galloworks
2.9      lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S # 400
                                                                                     Houston, TX 77027-4205
         State the term remaining        0 months

         List the contract number of
         any government contract

         State what the contract or      Lease (tenant) -5h floor                    Galloworks
2.10     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S # 400
                                                                                     Houston, TX 77027-4205
         State the term remaining        96 months

         List the contract number of
         any government contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                      page 2 of 4
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Debtor      Galleria 2425 Owner, LLC                                                                  Case number (if known)        23-34815-H5-11
            Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom the
                                                                                    debtor has an executory contract or unexpired lease

         State what the contract or      Property Management Agreement               Jetall Companies Inc.
2.11     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S Ste 1100
                                                                                     Houston, TX 77027-4210
         State the term remaining        0 months

         List the contract number of
         any government contract



         State what the contract or      Lease (tenant)                              Jetall Companies Inc.
2.12     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S Ste 1100
                                                                                     Houston, TX 77027-4210
         State the term remaining        105 months

         List the contract number of
         any government contract



         State what the contract or      Lease (tenant)                              Kudrath Enterprises PLLC
2.13     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S Ste 350
                                                                                     Houston, TX 77027-4208
         State the term remaining        33 months

         List the contract number of
         any government contract



         State what the contract or      Confidential settlement agreement           National Bank of Kuwait S.A.K.P.
2.14     lease is for and the nature
         of the debtor’s interest                                                    Charles C. Conrad Pillsbury Winthrop Shaw Pittsman, LLP

         State the term remaining        0 months                                    909 Fannin St, Ste 2000
                                                                                     Houston, TX 77010
         List the contract number of
         any government contract



         State what the contract or      Lease (tenant)                              Nationwide Investigations & Security Inc
2.15     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S Ste 300
                                                                                     Houston, TX 77027-4207
         State the term remaining        8 months

         List the contract number of
         any government contract



         State what the contract or      Commercial lease                            Shah Sloan LLC
2.16     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S 501, 503 and 523
                                                                                     Houston, TX 77027-4205
         State the term remaining        114 months

         List the contract number of
         any government contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                       page 3 of 4
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Debtor      Galleria 2425 Owner, LLC                                                                  Case number (if known)        23-34815-H5-11
            Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom the
                                                                                    debtor has an executory contract or unexpired lease

         State what the contract or      Lease (tenant)-not moved in and not         SIBS International Inc
2.17     lease is for and the nature     paid deposit - status uncertain
         of the debtor’s interest                                                    2425 West Loop S # 900

         State the term remaining        120 months                                  Houston, TX 77027-4205

         List the contract number of
         any government contract



         State what the contract or      Lease (tenant)                              SprintCom Inc
2.18     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      Rooftop

         State the term remaining        0 months

         List the contract number of
         any government contract



         State what the contract or      Lease (tenant)                              St. Christopher Holdings GP LLC
2.19     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S 700
                                                                                     Houston, TX 77027-4205
         State the term remaining        120 months

         List the contract number of
         any government contract



         State what the contract or      Commerical lease                            UL Therapy
2.20     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S Ste 315
                                                                                     Houston, TX 77027-4211
         State the term remaining        22 months

         List the contract number of
         any government contract



         State what the contract or      Lease (tenant)                              Uptown Cosmetic and Implant Dentistry
2.21     lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                      2425 West Loop S Ste 333
                                                                                     Houston, TX 77027-4211
         State the term remaining        0 months

         List the contract number of
         any government contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                      page 4 of 4
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     Fill in this information to identify the case:

      Debtor name          Galleria 2425 Owner, LLC


      United States Bankruptcy Court for the:              Southern           District of             Texas

                                                                                                                                         ❑ Check if this is an
                                                                                            (State)
      Case number (If known):            23-34815-H5-11
                                                                                                                                              amended filing


    Official Form 206H
    Schedule H: Codebtors                                                                                                                                      12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
    Attach the Additional Page to this page.


      1.    Does the debtor have any codebtors?
            ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
            ❑
            ❑ Yes
      2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
            Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
            creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

             Column 1: Codebtor                                                                               Column 2: Creditor

                                                                                                                                          Check all schedules
             Name                               Mailing address                                               Name
                                                                                                                                          that apply:

     2.1                                                                                                                                  ❑D
                                                Street                                                                                    ❑ E/F
                                                                                                                                          ❑G

                                                City                  State                  ZIP Code

     2.2                                                                                                                                  ❑D
                                                Street                                                                                    ❑ E/F
                                                                                                                                          ❑G

                                                City                  State                  ZIP Code

     2.3                                                                                                                                  ❑D
                                                Street                                                                                    ❑ E/F
                                                                                                                                          ❑G

                                                City                  State                  ZIP Code

     2.4                                                                                                                                  ❑D
                                                Street                                                                                    ❑ E/F
                                                                                                                                          ❑G

                                                City                  State                  ZIP Code

     2.5                                                                                                                                  ❑D
                                                Street                                                                                    ❑ E/F
                                                                                                                                          ❑G

                                                City                  State                  ZIP Code




    Official Form 206H                                                 Schedule H: Codebtors                                                       page 1 of    2
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    Debtor      Galleria 2425 Owner, LLC                                                      Case number (if known) 23-34815-H5-11
                Name


                     Additional Page if Debtor Has More Codebtors

                    Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

             Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                                 Check all schedules
             Name                         Mailing address                                           Name
                                                                                                                                 that apply:

     2.6                                                                                                                         ❑D
                                          Street                                                                                 ❑ E/F
                                                                                                                                 ❑G

                                          City                   State             ZIP Code




    Official Form 206H                                             Schedule H: Codebtors                                              page   2   of    2
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 Fill in this information to identify the case:

 Debtor name                                         Galleria 2425 Owner, LLC

 United States Bankruptcy Court for the:
                                           Southern District of Texas

 Case number (if known):                        23-34815-H5-11                           Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                  $17,500,000.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                        $125,397.97

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                   $17,625,397.97




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                   $92,762,940.77



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                 $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $9,481,879.09




 4. Total liabilities..............................................................................................................................................................................              $102,244,819.86

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
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 Fill in this information to identify the case:

 Debtor name                            Galleria 2425 Owner, LLC

 United States Bankruptcy Court for the:
                                  Southern District of Texas

 Case number (if known):             23-34815-H5-11                                                                            ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                     $856,837.58
                                                                                         ❑ Other
       fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                   From 01/01/2022          to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                     $875,514.69
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:         From 01/01/2021          to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                     $907,227.41
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




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                                                                                   Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                       Dates             Total amount or value           Reasons for payment or transfer
                                                                                                             Check all that apply

 3.1.   See SOFA Exhibit 3                                                            $450,670.25            ❑ Secured debt
        Creditor's name
                                                                                                             ❑ Unsecured loan repayments
                                                                                                             ❑ Suppliers or vendors
                                                                                                             ❑ Services
        Street

                                                                                                             ✔ Other
                                                                                                             ❑
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                        Dates             Total amount or value           Reasons for payment or transfer


 4.1.   See SOFA Exhibit 4                                                            $329,263.00
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor



 4.2.   Dward Darjean                                      01/06/2023                      $150.00           Reimbursement of expenses
        Creditor's name
        2425 West Loop S Ste 1100
        Street



        Houston, TX 77027-4210
        City                        State    ZIP Code

         Relationship to debtor

        Manager




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                                                                                   Case number (if known)
                 Name



 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Galleria 2425 Owner, LLC v.             Claims including, but not limited       281st Judicial District Court, Harris County,         ✔ Pending
                                                                                                                                              ❑
        National Bank of Kuwait,
        S.A.K.P.
                                                to, breach of duty, fraud,
                                                conspiracy, RICO,
                                                                                        Texas
                                                                                        Name                                                  ❑ On appeal
                                                disparagement, breach of                201 Caroline St. 14th Fl.                             ❑ Concluded
                                                confidential settlement                 Street
         Case number                            agreement, tortuous
                                                interference with contract,
        2021-63370                              tortuous interference with              Houston, TX 77002
                                                business relationships, and             City                         State     ZIP Code
                                                other claims and causes of
                                                action




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                                                                                   Case number (if known)
             Name
 7.2.    Case title                      Nature of case                      Court or agency's name and address               Status of case

        Jetall Companies, 1001 WL,      Civil                               61st Judicial District Court, Harris County,      ✔ Pending
                                                                                                                              ❑
        LLC, Galleria 2425 Owner LLC,
        BDFI LLC, Ali Choudri, Brad
                                                                            Texas
                                                                            Name                                              ❑ On appeal
        Parker and Assemah Zafeer v.                                        201 Caroline St. 9th Fl.                          ❑ Concluded
        Sonder USA, Inc,                                                    Street


         Case number                                                        Houston, TX 77002
                                                                            City                         State     ZIP Code
        2021-09675
 7.3.    Case title                      Nature of case                      Court or agency's name and address               Status of case

        Galleria 2425 Owner LLC v       Claims including, but not limited   11th Judicial District Court, Harris County,      ❑ Pending
        National Bank of Kuwait
        S.A.K.P.. a New York Branch
                                        to, breach of duty, fraud,
                                        conspiracy, RICO,
                                                                            Texas
                                                                            Name                                              ❑ On appeal
        and George M. Lee               disparagement, breach of            201 Caroline St. 9th Floor                        ✔ Concluded
                                                                                                                              ❑
                                        confidential settlement             Street
                                        agreement, tortuous
         Case number                    interference with contract,
                                        tortuous interference with          Houston, TX 77002
        2021-63370                      business relationships, and         City                         State     ZIP Code
                                        other claims and causes of
                                        action
 7.4.    Case title                      Nature of case                      Court or agency's name and address               Status of case

        George M. Lee v Galleria 2425   Civil                               11th Judicial District Court, Harris County,      ❑ Pending
        Owner, LLC                                                          Texas
                                                                            Name                                              ❑ On appeal
                                                                            201 Caroline St. 9th Floor                        ✔ Concluded
                                                                                                                              ❑
         Case number                                                        Street

        2019-89764
                                                                            Houston, TX 77002
                                                                            City                         State     ZIP Code

 7.5.    Case title                      Nature of case                      Court or agency's name and address               Status of case

        Naissance Galleria, LLC vs      Case filed by David Tang for        129th Judicial District Court of Harris County    ✔ Pending
                                                                                                                              ❑
                                                                                                                              ❑ On appeal
        National Bank of Kuwait,        Naissance Galleria- Breach of       Name
        S.A.K.P.                        contract                            201 Caroline St 10th Floor
                                                                            Street                                            ❑ Concluded
         Case number
                                                                            Houston, TX 77002
        2023-41091                                                          City                         State     ZIP Code

 7.6.    Case title                      Nature of case                      Court or agency's name and address               Status of case

        Naissance Galleria, LLC vs      Case filed by David Tang for        157th Harris County District Court                ✔ Pending
                                                                                                                              ❑
                                                                                                                              ❑ On appeal
        Brad Parker                     Naissance Galleria- Breach of       Name
                                        contract                            201 Caroline St
                                                                            Street                                            ❑ Concluded
         Case number

        2023-39006                                                          Houston, TX 77002-1901
                                                                            City                         State     ZIP Code




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                                                                                   Case number (if known)
                 Name
 7.7.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Galleria 2425 Owner LLC vs             Claims including, but not limited      Federal Bankruptcy Court                            ✔ Pending
                                                                                                                                          ❑
                                                                                                                                          ❑ On appeal
        National Bank of Kuwait                to, breach of duty, fraud,             Name
                                               conspiracy, RICO,                      515 Rusk St # 403
                                               disparagement, breach of               Street                                              ❑ Concluded
         Case number                           confidential settlement
                                               agreement, tortuous
        2023-22748                             interference with contract,            Houston, TX 77002-2600
                                               tortuous interference with             City                          State   ZIP Code
                                               business relationships, and
                                               other claims and causes of
                                               action
 7.8.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Naissance Galleria LLC vs              Case filed by David Tang for           80th Judicial District Court, Harris County,        ✔ Pending
                                                                                                                                          ❑
        Zaheer                                 Naissance Galleria- Breach of
                                               contract; removed to federal
                                                                                      Texas
                                                                                      Name                                                ❑ On appeal
                                               bankruptcy court as adversary          201 Caroline St. 9th Fl                             ❑ Concluded
         Case number                           23-03259.                              Street

        2023-43755
                                                                                      Houston, TX 77002
                                                                                      City                          State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                     Description of the property                           Value


        Custodian’s name
                                                          Case title                                            Court name and address
        Street
                                                                                                             Name

                                                          Case number                                        Street
        City                        State    ZIP Code



                                                          Date of order or assignment                        City                        State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑




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                                                                                   Case number (if known)
                  Name
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                 Dates given           Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ❑ None
           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.    September 2022                                       200,000                                                      underground             Loss value in
                                                                                                                            water leak                 excess of
                                                                                                                                                       insurance



 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Hayward PLLC                                           Attorney Fees                                             07/03/2023                    $30,000.00


          Address                                               Attorney Fees                                             11/08/2023                    $20,000.00

         7600 Brunett Road, Ste 530
         Street


         Austin, TX 78757
         City                        State     ZIP Code


          Email or website address

         mhayward@hayward.com

          Who made the payment, if not debtor?




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                                                                                   Case number (if known)
                  Name

 11.2.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         Baker & Associates                                    attorney fee                                             12/07/2023                   $20,000.00


          Address

         950 Echo Lane, Suite 300
         Street


         Houston, TX 77024
         City                        State    ZIP Code


          Email or website address

         courtdocs@bakerassociates.net

          Who made the payment, if not debtor?

         2401 Fountainview HO




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




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                                                                                   Case number (if known)
                Name
 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                              Dates of occupancy

 14.1.                                                                                                        From                  To
         Street




         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the    If debtor provides meals
                                                            debtor provides                                                     and housing, number of
                                                                                                                                patients in debtor’s care

 15.1.
         Facility name


         Street
                                                            Location where patient records are maintained(if different from     How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                              Check all that apply:
                                                                                                                               ❑ Electronically
                                                                                                                               ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑




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                                                                                   Case number (if known)
                 Name

        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                        Name of plan                                                                   Employer identification number of the plan

                                                                                                      EIN:        –

                        Has the plan been terminated?
                        ❑ No
                        ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account       Type of account              Date account was          Last balance
                                                          number                                                      closed, sold, moved,      before closing
                                                                                                                      or transferred            or transfer

 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                      State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                          Address

        City                      State   ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑




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                                                                                   Case number (if known)
                  Name

 20.1     Facility name and address                              Names of anyone with access to it      Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                                 Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                    Location of the property                Description of the property                  Value


         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                      Court or agency name and address                   Nature of the case                           Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                        Name
                                                                                                                                                        ❑ On appeal
                                                        Street
                                                                                                                                                        ❑ Concluded


                                                        City                         State   ZIP Code




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                                                                                   Case number (if known)
                  Name
 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice


         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice


         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:        –
         Name
                                                                                                                  Dates business existed
         Street
                                                                                                                From                  To



         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.    List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ❑None




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                                                                                   Case number (if known)
               Name

         Name and address                                                                                 Dates of service

 26a.1. Scarlet MacGeorge - Jetall Companies Inc.                                                             2022-
        Name                                                                                             From present        To
        2425 West Loop S Ste 1100
        Street



        Houston, TX 77027-4210
        City                                        State                 ZIP Code

         Name and address                                                                                 Dates of service

 26a.2. Hines Property Management
                                                                                                         From 2019 - 2021    To
        Name
        2800 Post Oak Blvd
        Street



        Houston, TX 77056
        City                                        State                 ZIP Code

         Name and address                                                                                 Dates of service

 26a.3. Michael Chang                                                                                    From 2021           To 2022
        Name


        Street




        City                                        State                 ZIP Code


 26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
        statement within 2 years before filing this case.
        ❑None
         Name and address                                                                                 Dates of service

 26b.1. Hines Property Management
                                                                                                         From 2019-2021      To
        Name
        2800 Post Oak Blvd
        Street



        Houston, TX 77056
        City                                        State                 ZIP Code

         Name and address                                                                                 Dates of service

 26b.2. Scarlet McGeorge - Jetall Companies Inc.                                                              2022-
        Name                                                                                             From present        To
        2425 West Loop S Ste 1100
        Street



        Houston, TX 77027-4210
        City                                        State                 ZIP Code


 26c.   List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
        ❑None




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                                                                                   Case number (if known)
                  Name

            Name and address                                                                                      If any books of account and records are
                                                                                                                  unavailable, explain why
 26c.1.
           Scarlet McGeorge - Jetall Companies Inc.
           Name
           2425 West Loop S Ste 1100
           Street



           Houston, TX 77027-4210
           City                                             State                  ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address

 26d.1.
           Name


           Street




           City                                             State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
           Name of the person who supervised the taking of the inventory                          Date of          The dollar amount and basis (cost, market, or
                                                                                                  inventory        other basis) of each inventory




           Name and address of the person who has possession of inventory records

 27.1.
          Name


          Street




          City                                      State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
           Name                           Address                                                       Position and nature of any          % of interest, if any
                                                                                                        interest

         Ali Choudhri                    1001 West Loop South, Ste 700 Houston, TX                     Manager, Ownership of holding                   100.00%
                                         77027                                                         company

         Dward Darjean                   2425 West Loop S Ste 1100 Houston, TX                         Manager,                                             0.00%
                                         77027-4210

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.



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                                                                                   Case number (if known)
             Name

       Name                                 Address                                                     Position and nature of any     Period during which
                                                                                                        interest                       position or interest was
                                                                                                                                       held

                                                                                                    ,                                   From
                                                                                                                                        To

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
     credits on loans, stock redemptions, and options exercised?
     ❑ No
     ✔ Yes. Identify below.
     ❑
       Name and address of recipient                                             Amount of money or description            Dates               Reason for providing
                                                                                 and value of property                                         the value


 30.1. Dward Darjean                                                                                              $150    01/06/2023        Expense
      Name                                                                                                                                  reimbursement
      2425 West Loop S Ste 1100
      Street



      Houston, TX 77027-4210
      City                                          State         ZIP Code


       Relationship to debtor



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ❑ No
     ✔ Yes. Identify below.
     ❑
             Name of the parent corporation                                                         Employer Identification number of the parent corporation

         Galleria 2425 JV LLC                                                                      EIN: 8 2 – 5 2 0 0 9 3 2


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     ❑
     ❑ Yes. Identify below.
             Name of the pension fund                                                               Employer Identification number of the pension fund

                                                                                                   EIN:          –



 Part 14: Signature and Declaration


   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
   bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


   I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
   correct.


   I declare under penalty of perjury that the foregoing is true and correct.


   Executed on          12/22/2023
                    MM/ DD/ YYYY




   ✘                                                                     Printed name                        Dward Darjean
        Signature of individual signing on behalf of the debtor



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                                                                                   Case number (if known)
                    Name
      Position or relationship to debtor      Manager



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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                                                       2425 West Loop LLC dba
                                                       Metwall Design Solutions LLC
                                                       2425 West Loop S Ste 800
                                                       Houston, TX 77027-4214



                                                       2425 WL, LLC
                                                       13498 Pond Springs Rd.
                                                       Austin, TX 78729




                                                       2425 WL, LLC
                                                       60 West 2nd St.
                                                       Freeport, NY 11746




                                                       2425 WL, LLC
                                                       13498 Pond Springs Rd
                                                       Austin, TX 78729-4422




                                                       ADT
                                                       PO Box 382109
                                                       Pittsburgh, PA 15251




                                                       Ali Choudhri
                                                       1001 West Loop South 700
                                                       Houston, TX 77027




                                                       Ash Automated Control
                                                       Systems, LLC
                                                       PO Box 1113
                                                       Fulshear, TX 77441



                                                       Bankable Equities
                                                       2425 West Loop S Ste 600
                                                       Houston, TX 77027-4203
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                                                       Boho Lounge
                                                       2425 West Loop S # 100
                                                       Houston, TX 77027-4205




                                                       Caz Creek Lending
                                                       118 Vintage Park Blvd No. W
                                                       Houston, TX 77070




                                                       CFI Mechanical, Inc
                                                       6109 Brittmoore Rd
                                                       Houston, TX 77041




                                                       Cirro Electric
                                                       PO Box 60004
                                                       Dallas, TX 75266




                                                       City of Houston
                                                       Po Box 1560
                                                       Houston, TX 77251-1560




                                                       City of Houston Water
                                                       Department
                                                       PO Box 1560
                                                       Houston, TX 77251



                                                       CNA Insurance Co
                                                       PO Box 74007619
                                                       Chicago, IL 60674




                                                       CNA Insurance Company
                                                       PO Box BOX 74007619
                                                       Chicago, IL 60674
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                                                       Comcast
                                                       PO Box 60533
                                                       City of Industry, CA 91716




                                                       Datawatch Systems
                                                       4520 East West Highway 200
                                                       Bethesda, MD 20814




                                                       Environmental Coalition Inc
                                                       PO Box 1568
                                                       Stafford, TX 77497




                                                       Eyebrows 4UTX LLC
                                                       2425 West Loop S # 340b
                                                       Houston, TX 77027-4205




                                                       Ferguson Facilities Supplies
                                                       PO Box 200184
                                                       San Antonio, TX 78220




                                                       Firetron
                                                       PO Box 1604
                                                       Stafford, TX 77497




                                                       First Insurance Funding
                                                       450 Skokie Blvd
                                                       Northbrook, IL 60062




                                                       First Insurance Funding
                                                       450 Skokie Blvd.
                                                       Northbrook, IL 60062
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                                                       G3 Global Services LLC
                                                       2425 West Loop S Ste 310
                                                       Houston, TX 77027-4208




                                                       Galloworks
                                                       2425 West Loop S # 400
                                                       Houston, TX 77027-4205




                                                       Gulfstream Legal Group
                                                       1300 Texas St
                                                       Houston, TX 77002




                                                       Hayward PLLC
                                                       10501 N Central Expy Ste 106
                                                       Dallas, TX 75231-2203




                                                       HNB Construction, LLC
                                                       521 Woodhaven
                                                       Ingleside, TX 78362




                                                       Houston Community College
                                                       System
                                                       c/o Tara Grundemeier
                                                       Linebarger, Groggan, Blair & Sampson
                                                       Po Box 3064
                                                       Houston, TX 77253-3064


                                                       Houston Independent School
                                                       District
                                                       P.O. Box 4668
                                                       Houston, TX 77210



                                                       Jetall Companies Inc.
                                                       2425 West Loop S Ste 1100
                                                       Houston, TX 77027-4210
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                                                       Kings 111 Emergency
                                                       Communications
                                                       751 Canyon Drive, Suite 100
                                                       Coppell, TX 75019



                                                       Kudrath Enterprises PLLC
                                                       2425 West Loop S Ste 350
                                                       Houston, TX 77027-4208




                                                       Lexitas
                                                       PO Box Box 734298 Dept 2012
                                                       Dallas, TX 75373




                                                       Linebarger Goggan & Blair
                                                       P.O. Box 3064
                                                       Houston, TX 77253




                                                       Logix Fiber Networks
                                                       PO Box 734120
                                                       Dallas, TX 75373




                                                       Metwall Design Solutions LLC
                                                       10931 Day Rd
                                                       Houston, TX 77043-4901




                                                       Mueller Water Treatment
                                                       1500 Sherwood Forest Dr.
                                                       Houston, TX 77043




                                                       National Bank of Kuwait
                                                       299 Park Ave. 17th Floor
                                                       New York, NY 10171
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                                                       National Bank of Kuwait
                                                       Charles C. Conrad Pillsbury Winthrop
                                                       Shaw Pittsman, LLP
                                                       909 Fannin St, Ste 2000
                                                       Houston, TX 77010


                                                       National Bank of Kuwait
                                                       S.A.K.P.
                                                       Charles C. Conrad Pillsbury Winthrop
                                                       Shaw Pittsman, LLP
                                                       909 Fannin St, Ste 2000
                                                       Houston, TX 77010


                                                       Nationwide Investigations &
                                                       Security Inc
                                                       2425 West Loop S Ste 300
                                                       Houston, TX 77027-4207



                                                       Nationwide Security
                                                       2425 W Loop S 300
                                                       Houston, TX 77027




                                                       Nichamoff Law Firm
                                                       2444 Times Blvd 270
                                                       Houston, TX 77005




                                                       Shah Sloan LLC
                                                       2425 West Loop S 501, 503 and 523
                                                       Houston, TX 77027-4205




                                                       SIBS International Inc
                                                       2425 West Loop S # 900
                                                       Houston, TX 77027-4205




                                                       Smart Office Solutions
                                                       6623 Theall Rd
                                                       Houston, TX 77066-1213
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                                                       SprintCom Inc
                                                       Rooftop




                                                       St. Christopher Holdings GP
                                                       LLC
                                                       2425 West Loop S 700
                                                       Houston, TX 77027-4205



                                                       T&R Mechanical
                                                       21710 White Oak Dr
                                                       Conroe, TX 77306-8848




                                                       TKE
                                                       3100 Interstate North Cir SE 500
                                                       Atlanta, GA 30339




                                                       UL Therapy
                                                       2425 West Loop S Ste 315
                                                       Houston, TX 77027-4211




                                                       Uptown Cosmetic and Implant
                                                       Dentistry
                                                       2425 West Loop S Ste 333
                                                       Houston, TX 77027-4211



                                                       Waste Management
                                                       PO Box 660345
                                                       Dallas, TX 75266




                                                       Zindler Cleaning Service Co
                                                       2450 Fondren 113
                                                       Houston, TX 77063
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Payments in 90 days                           SOFA Exh 3
2425 West Loop - 2425 West Loop South Houston, TX 77027
Date Range: 09/05/2023 to 12/05/2023
                                                               Payment
Bank Account Payee Name                     Check # Check Date Amount                                   Amount
Galleria 2425
Owner, LLC -
8002            CNA Insurance               8002 Regions09/05/2023     16,270.77
                                                                                   Property Insurance        16,270.77
Galleria 2425
Owner, LLC -
8002            City of Houston Water       8002 Regions09/06/2023      8,140.52
                                                                                   Water                      8,140.52
Galleria 2425
Owner, LLC -
8002            Waste Management            1012          09/06/2023     563.84
                                                                                   Waste Removal                 563.84
Galleria 2425
Owner, LLC -
8002            TK Elevator Corporation     1013          09/06/2023    3,542.25
                                                                                   Elevator Inspection and Repair
                                                                                                               3,542.25
Galleria 2425
Owner, LLC -
8002            Smart Office Automation     1014          09/06/2023     574.46
                                                                                   Equipment Rental              574.46
Galleria 2425
Owner, LLC -
8002            Mueller Water Conditioning Inc.
                                            1015          09/06/2023     475.00
                                                                                   Water Treatment               475.00
Galleria 2425
Owner, LLC -
8002            ADT Commercial              1016          09/06/2023      86.16
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                                                                                 Fire and Security Monitoring     86.16
Galleria 2425
Owner, LLC -
8002            Ferguson Facilities Supply   1017        09/06/2023    691.13
                                                                                 Janitorial Expense              691.13
Galleria 2425
Owner, LLC -
8002            Zindler Service Co, Inc      1018        09/06/2023   2,110.88
                                                                                 Janitorial Expense             2,110.88
Galleria 2425
Owner, LLC -
8002            Maria Cristina Leos Rico     1019        09/08/2023   1,200.00
                                                                                 Janitorial Expense             1,200.00
Galleria 2425
Owner, LLC -
8002            Nemecio Alfonso Garcia Villanueva
                                            1020         09/08/2023   1,200.00
                                                                                 Janitorial Expense             1,200.00
Galleria 2425
Owner, LLC -
8002            Nationwide Investigation & Security
                                            1021 Inc.    09/08/2023   4,158.97
                                                                                 Security Service               4,158.97
Galleria 2425
Owner, LLC -
8002            RingCentral                  1022        09/08/2023    896.87
                                                                                 Telephone and Internet Service896.87
Galleria 2425
Owner, LLC -
8002            First Insurance Funding      8002 Regions09/12/2023   1,376.84
                                                                                 Property Insurance             1,376.84
Galleria 2425
Owner, LLC -
8002            Comcast Business             1023        09/12/2023    248.79
                                                                                 Telephone and Internet Service248.79
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Galleria 2425
Owner, LLC -
8002            T & R Mechanical, Inc      1024         09/14/2023   9,791.21
                                                                                HVAC (Heat, Ventilation, Air) 9,791.21
Galleria 2425
Owner, LLC -
8002            Mueller Water Conditioning Inc.
                                            3774        09/14/2023     475.00
                                                                                Water Treatment                475.00
Galleria 2425
Owner, LLC -
8002            Mueller Water Conditioning Inc.
                                            3774        09/14/2023     475.00
                                                                                Water Treatment                475.00
Galleria 2425
Owner, LLC -
8002            Mueller Water Conditioning Inc.
                                            3774        09/14/2023     475.00
                                                                                Water Treatment                475.00
Galleria 2425
Owner, LLC -
8002            Nationwide Investigation & Security
                                            1025 Inc.   09/14/2023   3,611.22
                                                                                Security Service             3,611.22
Galleria 2425
Owner, LLC -
8002            Culligan of Houston        1026         09/14/2023      63.56
                                                                                Water                           49.49
                                                                                Equipment Rental                14.07
Galleria 2425
Owner, LLC -
8002            ADT Commercial             1027         09/14/2023      81.19
                                                                                Fire and Security Repair        81.19
Galleria 2425
Owner, LLC -
8002            The Filter Man, LLC        1028         09/15/2023   1,978.36
                                                                                Fire Damage 2425 W Loop S1,978.36
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Galleria 2425
Owner, LLC -
8002            Octavio Carranza           1029        09/15/2023    3,336.46
                                                                                General Maintenance Labor 3,336.46
Galleria 2425
Owner, LLC -
8002            Carlos Arroyo              1030        09/15/2023    2,427.01
                                                                                General Maintenance Labor 2,427.01
Galleria 2425
Owner, LLC -
8002            Ricky Delarosa             1031        09/15/2023      136.00
                                                                                General Maintenance Labor     136.00
Galleria 2425
Owner, LLC -
8002            U Plumb It                 M/C         09/15/2023       77.92
                                                                                Plumbing                       77.92
Galleria 2425
Owner, LLC -
8002            Ricky Delarosa             1032        09/20/2023      510.00
                                                                                General Maintenance Labor     510.00
Galleria 2425
Owner, LLC -
8002            Maria Cristina Leos Rico   1033        09/21/2023    1,200.00
                                                                                Janitorial Expense           1,200.00
Galleria 2425
Owner, LLC -
8002            Nemecio Alfonso Garcia Villanueva
                                            1034       09/21/2023    1,200.00
                                                                                Janitorial Expense           1,200.00
Galleria 2425
Owner, LLC -
8002            Cirro Energy               8002 Regions09/22/2023   23,292.67
                                                                                Electricity                 23,292.67
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Galleria 2425
Owner, LLC -
8002            Ricky Delarosa               1035        09/29/2023   1,147.50
                                                                                 General Maintenance Labor 1,147.50
Galleria 2425
Owner, LLC -
8002            Carlos Arroyo                1036        09/29/2023   2,208.63
                                                                                 General Maintenance Labor 2,208.63
Galleria 2425
Owner, LLC -
8002            Octavio Carranza             1037        09/29/2023   3,133.01
                                                                                 General Maintenance Labor 3,133.01
Galleria 2425
Owner, LLC -
8002            Datawatch Systems            1042        09/30/2023   1,382.55
                                                                                 Fire and Security Monitoring 1,382.55
Galleria 2425
Owner, LLC -
8002            Logix Fiber Networks         1043        09/30/2023    315.80
                                                                                 Fire and Security Monitoring   315.80
Galleria 2425
Owner, LLC -
8002            Meyerland Glass & Mirror Co1044          09/30/2023    211.09
                                                                                 Interior Repairs               211.09
Galleria 2425
Owner, LLC -
8002            Bank Fee                     8002 Regions09/30/2023     12.00
                                                                                 Bank Fees                       12.00
Galleria 2425
Owner, LLC -
8002            Ferguson Facilities Supply   1038        10/02/2023    952.61
                                                                                 Janitorial Expense             757.93
                                                                                 Janitorial Expense             194.68
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Galleria 2425
Owner, LLC -
8002            Zindler Service Co, Inc    1039         10/02/2023    2,110.88
                                                                                 Janitorial Expense      2,110.88
Galleria 2425
Owner, LLC -
8002            Nationwide Investigation & Security
                                            1041 Inc.   10/02/2023    4,905.89
                                                                                 Security Service          497.95
                                                                                 Security Service        4,407.94
Galleria 2425
Owner, LLC -
8002            Carrillo's Flooring        1045         10/02/2023    1,650.00
                                                                                 Flooring                1,650.00
Galleria 2425
Owner, LLC -
8002            Acme Hardware              Octavio paid 10/02/2023       42.22
                                                                                 Door, Locks, Signs        42.22
Galleria 2425
Owner, LLC -
8002            Jetall Companies, Inc      8002 Regions10/02/2023    19,395.87
                                                                                 Administrative         19,395.87
Galleria 2425
Owner, LLC -
8002            Department of State Health Services
                                            1046        10/04/2023      450.00
                                                                                 Licenses and Permits     450.00
Galleria 2425
Owner, LLC -
8002            Nemecio Alfonso Garcia Villanueva
                                            1047        10/06/2023    1,200.00
                                                                                 Janitorial Expense      1,200.00
Galleria 2425
Owner, LLC -
8002            Maria Cristina Leos Rico   1048         10/06/2023    1,200.00
                                                                                 Janitorial Expense      1,200.00
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Galleria 2425
Owner, LLC -
8002            Nationwide Investigation & Security
                                            AppliedInc.
                                                    to October
                                                         10/06/2023
                                                               2023 rent    712.78
                                                                                      Security Service                712.78
Galleria 2425
Owner, LLC -
8002            Nationwide Investigation & Security
                                            AppliedInc.
                                                    to rent10/06/2023
                                                            $4033.22 Oct, 4,407.94
                                                                          374.72 Nov
                                                                                   Security Service                  4,407.94
Galleria 2425
Owner, LLC -
8002            Culligan of Houston          1049        10/10/2023          14.07
                                                                                      Equipment Rental                 14.07
Galleria 2425
Owner, LLC -
8002            TK Elevator Corporation      1050        10/10/2023        3,542.25
                                                                                      Elevator Inspection and Repair
                                                                                                                  3,542.25
Galleria 2425
Owner, LLC -
8002            Mueller Water Conditioning Inc.
                                            1051         10/10/2023         475.00
                                                                                      Water Treatment                 475.00
Galleria 2425
Owner, LLC -
8002            Ferguson Facilities Supply   1052        10/10/2023        1,018.74
                                                                                      Janitorial Expense             1,018.74
Galleria 2425
Owner, LLC -
8002            Datawatch Systems            1053        10/10/2023        1,490.81
                                                                                      Fire and Security Monitoring 1,490.81
Galleria 2425
Owner, LLC -
8002            ADT Commercial               1054        10/10/2023          86.16
                                                                                      Fire and Security Monitoring     86.16
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Galleria 2425
Owner, LLC -
8002            Ricky Delarosa            1055        10/11/2023       153.00
                                                                                General Maintenance Labor      153.00
Galleria 2425
Owner, LLC -
8002            Prime Restoration         1056        10/12/2023     4,000.00
                                                                                Fire Damage 2425 W Loop S4,000.00
Galleria 2425
Owner, LLC -
8002            Ricky Delarosa            1057        10/12/2023     1,504.50
                                                                                General Maintenance Labor 1,504.50
Galleria 2425
Owner, LLC -
8002            Jetall Companies, Inc     8002 Regions10/12/2023    19,395.87
                                                                                Administrative              19,395.87
Galleria 2425
Owner, LLC -
8002            Carlos Arroyo             1058        10/13/2023     2,076.90
                                                                                General Maintenance Labor 2,076.90
Galleria 2425
Owner, LLC -
8002            Octavio Carranza          1059        10/13/2023     3,172.22
                                                                                General Maintenance Labor 3,172.22
Galleria 2425
Owner, LLC -
8002            T & R Mechanical, Inc     1060        10/18/2023    12,901.24
                                                                                HVAC (Heat, Ventilation, Air)12,901.24
Galleria 2425
Owner, LLC -
8002            T & R Mechanical, Inc     1061        10/18/2023    13,093.24
                                                                                HVAC (Heat, Ventilation, Air)13,093.24
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Galleria 2425
Owner, LLC -
8002            U.S. Trustees              1062         10/19/2023     578.00
                                                                                 Other                        578.00
Galleria 2425
Owner, LLC -
8002            Maria Cristina Leos Rico   1063         10/20/2023    1,200.00
                                                                                 Janitorial Expense         1,200.00
Galleria 2425
Owner, LLC -
8002            Nemecio Alfonso Garcia Villanueva
                                            1064        10/20/2023    1,200.00
                                                                                 Janitorial Expense         1,200.00
Galleria 2425
Owner, LLC -
8002            City of Houston Water      8002 Regions10/20/2023     9,511.72
                                                                                 Water                      9,511.72
Galleria 2425
Owner, LLC -
8002            RingCentral                1065         10/23/2023     896.87
                                                                                 Telephone and Internet Service896.87
Galleria 2425
Owner, LLC -
8002            Cirro Energy               8002 Regions10/23/2023    25,512.26
                                                                                 Electricity               25,512.26
Galleria 2425
Owner, LLC -
8002            Smart Office Automation    1066         10/23/2023     806.69
                                                                                 Equipment Rental             806.69
Galleria 2425
Owner, LLC -
8002            Nationwide Investigation & Security
                                            1067 Inc.   10/23/2023    4,258.56
                                                                                 Security Service           4,258.56
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Galleria 2425
Owner, LLC -
8002            Waste Management          1068      10/23/2023     457.35
                                                                            Waste Removal                  457.35
Galleria 2425
Owner, LLC -
8002            Logix Fiber Networks      1069      10/23/2023     323.44
                                                                            Fire and Security Monitoring   323.44
Galleria 2425
Owner, LLC -
8002            Comcast Business          1070      10/23/2023     249.05
                                                                            Telephone and Internet Service249.05
Galleria 2425
Owner, LLC -
8002            Culligan of Houston       1071      10/23/2023      50.57
                                                                            Water                           50.57
Galleria 2425
Owner, LLC -
8002            Meyerland Glass & Mirror Co1072     10/24/2023     211.09
                                                                            Door, Locks, Signs             211.09
Galleria 2425
Owner, LLC -
8002            Ricky Delarosa            1073      10/25/2023     136.00
                                                                            General Maintenance Labor      136.00
Galleria 2425
Owner, LLC -
8002            Colaco Engineers          1074      10/30/2023   4,800.00
                                                                            Fire Damage 2425 W Loop S4,800.00
Galleria 2425
Owner, LLC -
8002            Octavio Carranza          1075      10/31/2023   3,194.97
                                                                            General Maintenance Labor 3,194.97
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Galleria 2425
Owner, LLC -
8002            Ricky Delarosa             1076        10/31/2023    1,853.00
                                                                                General Maintenance Labor 1,853.00
Galleria 2425
Owner, LLC -
8002            Carlos Arroyo              1077        10/31/2023    2,722.30
                                                                                General Maintenance Labor 2,722.30
Galleria 2425
Owner, LLC -
8002            Jetall Companies, Inc      8002 Regions11/02/2023   19,395.87
                                                                                Administrative             19,395.87
Galleria 2425
Owner, LLC -
8002            Kings 111 Emergency Communications
                                        3774           11/02/2023    1,091.34
                                                                                Fire and Security Monitoring 1,091.34
Galleria 2425
Owner, LLC -
8002            Nemecio Alfonso Garcia Villanueva
                                            1078       11/03/2023    1,200.00
                                                                                Janitorial Expense          1,200.00
Galleria 2425
Owner, LLC -
8002            Maria Cristina Leos Rico   1079        11/03/2023    1,200.00
                                                                                Janitorial Expense          1,200.00
Galleria 2425
Owner, LLC -
8002            Goodman-Gable-Gould        1080        11/06/2023   15,000.00
                                                                                Fire Damage 2425 W Loop S
                                                                                                        15,000.00
Galleria 2425
Owner, LLC -
8002            ADT Commercial             1081        11/06/2023    1,271.91
                                                                                Fire Damage 2425 W Loop S1,271.91
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Galleria 2425
Owner, LLC -
8002            Matias J Adrogue, PLLC    8002 Regions11/06/2023     20,000.00
                                                                                 Legal                       20,000.00
Galleria 2425
Owner, LLC -
8002            City of Houston Water     8002 Regions11/06/2023      7,891.67
                                                                                 Water                           7,891.67
Galleria 2425
Owner, LLC -
8002            Hayward PLLC              8002 Regions11/09/2023     20,000.00
                                                                                 Legal                       20,000.00
Galleria 2425
Owner, LLC -
8002            Bay Area Pumps, Inc.      1084         11/09/2023      811.88
                                                                                 HVAC (Heat, Ventilation, Air)    811.88
Galleria 2425
Owner, LLC -
8002            Bay Area Pumps, Inc.      1085         11/09/2023     2,814.50
                                                                                 HVAC (Heat, Ventilation, Air) 2,814.50
Galleria 2425
Owner, LLC -
8002            VFS Global Services (USA), Inc.
                                           1086        11/09/2023     2,520.67
                                                                                 Clearing Account                2,520.67
Galleria 2425
Owner, LLC -
8002            VFS Global Services (USA), Inc.
                                           1087        11/09/2023     3,416.11
                                                                                 Clearing Account                3,416.11
Galleria 2425
Owner, LLC -
8002            Mueller Water Conditioning Inc.
                                            8002 Regions11/09/2023     475.00
                                                                                 Water Treatment                  475.00
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Galleria 2425
Owner, LLC -
8002            Sign Age, Inc                1088        11/09/2023     350.00
                                                                                  Door, Locks, Signs         350.00
Galleria 2425
Owner, LLC -
8002            Ferguson Facilities Supply   1089        11/13/2023    1,425.95
                                                                                  Janitorial Expense           64.39
                                                                                  Janitorial Expense          194.63
                                                                                  Janitorial Expense        1,166.93
Galleria 2425
Owner, LLC -
8002            Passman & Jones              8002 Regions11/15/2023   20,000.00
                                                                                  Legal                    20,000.00
Galleria 2425
Owner, LLC -
8002            Octavio Carranza             1090        11/15/2023    3,192.50
                                                                                  General Maintenance Labor 3,192.50
Galleria 2425
Owner, LLC -
8002            Ricky Delarosa               1091        11/15/2023    1,914.25
                                                                                  General Maintenance Labor 1,914.25
Galleria 2425
Owner, LLC -
8002            Carlos Arroyo                1092        11/15/2023    2,487.81
                                                                                  General Maintenance Labor 2,487.81
Galleria 2425
Owner, LLC -
8002            Bowen, Miclette & Britt      8002 Regions11/15/2023    1,885.57
                                                                                  Property Insurance        1,885.57
Galleria 2425
Owner, LLC -
8002            Nemecio Alfonso Garcia Villanueva
                                            1093         11/17/2023    1,320.00
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                                                                                   Janitorial Expense    1,320.00
Galleria 2425
Owner, LLC -
8002            Maria Cristina Leos Rico   1094         11/17/2023      1,320.00
                                                                                   Janitorial Expense    1,320.00
Galleria 2425
Owner, LLC -
8002            Culligan of Houston        1095         11/20/2023       117.39
                                                                                   Equipment Rental        12.26
                                                                                   Water                   90.37
                                                                                   Equipment Rental        14.76
Galleria 2425
Owner, LLC -
8002            Matias J Adrogue, PLLC     8002 Regions11/20/2023      20,000.00
                                                                                   Legal                20,000.00
Galleria 2425
Owner, LLC -
8002            Nationwide Investigation & Security
                                            1096 Inc.   11/20/2023      1,434.17
                                                                                   Security Service      1,434.17
Galleria 2425
Owner, LLC -
8002            Nationwide Investigation & Security
                                            AppliedInc.
                                                    to Nov11/20/2023
                                                           2023 Rent    2,500.72
                                                                                   Security Service      2,500.72
Galleria 2425
Owner, LLC -
8002            U.S. Trustees              8002 Regions11/21/2023        134.00
                                                                                   Other                  134.00
Galleria 2425
Owner, LLC -
8002            Kathleen Miller            1097         11/28/2023      1,530.00
                                                                                   Legal                 1,530.00
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Galleria 2425
Owner, LLC -
8002            Oasis Paychex              8002 Regions11/29/2023   22,067.16
                                                                                Administrative              22,067.16
Galleria 2425
Owner, LLC -
8002            Kathleen Miller            1099        11/30/2023    1,631.71
                                                                                Legal                        1,631.71
Galleria 2425
Owner, LLC -
8002            Comcast Business           1100        11/30/2023     259.10
                                                                                Telephone and Internet Service259.10
Galleria 2425
Owner, LLC -
8002            Maria Cristina Leos Rico   1101        12/01/2023    1,320.00
                                                                                Janitorial Expense           1,320.00
Galleria 2425
Owner, LLC -
8002            Nemecio Alfonso Garcia Villanueva
                                            1102       12/01/2023    1,320.00
                                                                                Janitorial Expense           1,320.00
Galleria 2425
Owner, LLC -
8002            Ricky Delarosa             1103        12/04/2023     194.25
                                                                                General Maintenance Labor      194.25
Galleria 2425
Owner, LLC -
8002            RingCentral                1104        12/04/2023     903.64
                                                                                Telephone and Internet Service903.64
Galleria 2425
Owner, LLC -
8002            Polk Mechanical Company LLC
                                         1105          12/04/2023    5,470.96
                                                                                HVAC (Heat, Ventilation, Air) 5,470.96
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                            23-34815 Document
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Galleria 2425
Owner, LLC -
8002            Nationwide Investigation & Security
                                            AppliedInc.
                                                    to December
                                                         12/04/2023
                                                                2023 Rent
                                                                       3,810.40
                                                                                  Security Service   3,810.40

Total                                                               450,670.25
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Payment made                    SOFA Exhibit 4

    Date         Amount           Recipient
  1/26/23       $5,000.00           Jetall
  1/27/23      $20,850.02           Jetall
   2/2/23       $4,000.00           Jetall
   2/3/23      $65,000.00           Jetall
  2/24/23      $15,000.00           Jetall
   3/3/23       $5,054.28           Jetall
  3/29/23       $5,096.15           Jetall
   4/3/23       $6,100.00           Jetall
  4/12/23       $5,096.15           Jetall
  4/26/23      $13,725.67           Jetall
  4/27/23       $1,750.00           Jetall
  6/12/23      $20,000.00           Jetall
  6/13/23      $10,195.56           Jetall
   7/3/23      $15,000.00           Jetall
 July to Nov   $19,395.87           Jetall
  11/2/23       $4,000.00           Jetall
  11/8/23      $20,000.00           Jetall
  11/10/23     $30,000.00           Jetall
  11/13/23     $25,000.00           Jetall
  11/14/23     $25,000.00           Jetall
  11/17/23      $4,000.00           Jetall
  12/5/23      $10,000.00           Jetall
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CourtAlert® Case Management
From:                 BKECF_LiveDB@txs.uscourts.gov
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Subject:              23-34815 Schedule A/B


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                                     U.S. Bankruptcy Court

                                    Southern District of Texas

Notice of Electronic Filing

The following transaction was received from Reese W Baker entered on 12/23/2023 at 2:29 PM
CST and filed on 12/23/2023
Case Name:           Galleria 2425 Owner, LLC
Case Number:         23-34815
Document Number: 70

Docket Text:
Schedule A/B: Property for Non-Individual And Schedules D, E/F, G, H and Statement of Financial
Affairs (Filed By Galleria 2425 Owner, LLC ). (Attachments: # (1) Exhibit SOFA Exhibit 3 # (2)
Exhibit SOFA Exhibit 4) (Baker, Reese)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:SchsDward[27].pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=996787432 [Date=12/23/2023] [FileNumber=49804372-
0] [70dbb2058c11527b223bb741ced0b9046c7c1bf60dfd42185c2583b61c97e9b592
496e53949605d8672981e66035e359db508355e55eb0ede57351492e97090e]]
Document description:Exhibit SOFA Exhibit 3
Original filename:C:\fakepath\Payments in 90 days SOFA 3.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=996787432 [Date=12/23/2023] [FileNumber=49804372-
1] [adc62647e6dda6d3a1e0f2bec19e848f9d1e5fe55fc135db0e706841f6a1f8b77a
a514489d1cca2e354361d1bf1389180ba25bb77c1e9adc3157ec3061e49dba]]
Document description:Exhibit SOFA Exhibit 4
Original filename:C:\fakepath\PaymentsGalleria2425 Owner.pdf
Electronic document Stamp:
  Case 23-34815 Document 846-9 Filed in TXSB on 12/04/24 Page 83 of 84


[STAMP bkecfStamp_ID=996787432 [Date=12/23/2023] [FileNumber=49804372-
2] [2fd7d043fd31579f05b74d3da0923d0fbe22ebb28365d04438fd970d62a8c1af76
b793119df8478aec071a8e5115919601e09a759bf5aac5ca1ee594430e20cf]]

23-34815 Notice will be electronically mailed to:

Reese W Baker on behalf of Debtor Galleria 2425 Owner, LLC
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ssociates.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@bakerassociates.net;b
akerassociates@jubileebk.net

Reese W Baker on behalf of Plaintiff Galleria 2425 Owner LLC
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akerassociates@jubileebk.net

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charles.conrad@pillsburylaw.com, nancy.jones@pillsburylaw.com,docket@pillsburylaw.com

Charles Clayton Conrad on behalf of Defendant National Bank of Kuwait, S.A.K.P., New York
Branch
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@mccathernlaw.com

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eutermohlen@mccathernlaw.com;snunez@mccathernlaw.com;dclark@mccathernlaw.com;dchester
@mccathernlaw.com

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taxbankruptcy.cao@harriscountytx.gov

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houston_bankruptcy@lgbs.com

Tara L Grundemeier on behalf of Creditor Houston Community College System
houston_bankruptcy@lgbs.com

Tara L Grundemeier on behalf of Creditor Houston ISD
houston_bankruptcy@lgbs.com

James Robert MacNaughton on behalf of Creditor 2425 West Loop, LLC
  Case 23-34815 Document 846-9 Filed in TXSB on 12/04/24 Page 84 of 84


robert@porterpowers.com

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polvih@passmanjones.com

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ecf@thepopelawfirm.com, ecfigotnotices@gmail.com;jpope@jubileebk.net;ecf@casedriver.com

James Q. Pope on behalf of Plaintiff Galleria 2425 Owner LLC
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James Q. Pope on behalf of Plaintiff Naissance Galleria, LLC
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lawyers.com;sfarronay@bn-lawyers.com

Howard Marc Spector on behalf of Creditor CC2 TX, LLC
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sshank@spectorcox.com;ahawkins@spectorcox.com;slthorn@spectorcox.com;sarah@spectorcox.co
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US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

Jana Smith Whitworth on behalf of U.S. Trustee US Trustee
jana.whitworth@usdoj.gov

23-34815 Notice will not be electronically mailed to:

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